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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

UNITED STATES OF AMERICA                                                    PLAINTIFF

v.                          CASE NO. 4:10CR00270 BSM

ALFREDO HERNANDEZ BONILLA,                                               DEFENDANTS
GILBERTO FRANCISCO FERNANDEZ, and
JAIME ESPERICUETA

                                        ORDER

      The government moves to dismiss [Doc. No. 266] the indictment as to defendants

Alfredo Hernandez Bonilla, Gilberto Francisco Fernandez, and Jaime Espericueta. For good

cause shown, that motion is granted. All active warrants for these defendants’ arrests are

hereby quashed and the case is dismissed without prejudice.

      IT IS SO ORDERED this 13th day of March 2012.



                                                  ________________________________
                                                  UNITED STATES DISTRICT JUDGE
